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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 7                                   AT SEATTLE
 8
 9 UNITED STATES OF AMERICA, )
                                 )
10                   Plaintiff,  )               CASE NO.      CR07-132 RSL
                                 )
11         v.                    )
                                 )
12                               )               DETENTION ORDER
    LE MY NGUYEN,                )
13                               )
                Defendant.       )
14 ______________________________)
15 Offense charged:
16            Count I:      Conspiracy to Manufacture Marijuana, in violation of Title 21,
17                          U.S.C., Sections 841(a)(1), 841(b)(1)(A), and 846;
18            Count II:     Conspiracty to Engage in Money Laundering, in violation of Title
19                          18, U.S.C., Section 1956(h).
20 Date of Detention Hearing: April 16, 2007
21            The Court, having conducted a contested detention hearing pursuant to Title 18
22 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
23 hereafter set forth, finds that no condition or combination of conditions which the defendant
24 can meet will reasonably assure the appearance of the defendant as required and the safety
25 of any other person and the community. The Government was represented by Sarah Vogel.
26 The defendant was represented by Peter Avenia.


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 1       FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2            (1)    There is probable cause to believe the defendant committed the drug
 3                   offense. The maximum penalty is in excess of ten years. There is
 4                   therefore a rebuttable presumption against the defendant’s release based
 5                   upon both dangerousness and flight risk, under Title 18 U.S.C. §
 6                   3142(e).
 7            (2)    Defendant is a citizen of Canada. The investigation of bank accounts
 8                   and business activities involves cross-border transactions in the
 9                   manufacture and sale of marijuana. In Count One, the conspiracy
10                   allegedly involves the manufacture of at least 1000 marijuana plants in a
11                   variety of in-home grow farms. The Government alleges the defendant
12                   has access to undisclosed bank accounts in Canada. Accounts seized in
13                   U.S. banks comprise over $75,000 in liquidity in the defendant’s name as
14                   an aggregate from three separate accounts. She reported to Pretrial
15                   Services her monthly income was $2500. In Count Two, the
16                   Government alleges, involves the transfer of illegal proceeds from the
17                   business accounts which the defendant appeared to control. Thus,
18                   Defendant’s access to large sums of money is viewed as a flight risk.
19   Based upon the foregoing information which is consistent with the recommendation of
20   detention by U.S. Pre-trial Services, it appears that there is no condition or combination
21   of conditions that would reasonably assure future Court appearances and/or the safety of
22   other persons or the community.
23            It is therefore ORDERED:
24            (l)    The defendant shall be detained pending trial and committed to the
25                   custody of the Attorney General for confinement in a correction facility
26                   separate, to the extent practicable, from persons awaiting or serving

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 1               sentences or being held in custody pending appeal;
 2         (2)   The defendant shall be afforded reasonable opportunity for private
 3               consultation with counsel;
 4         (3)   On order of a court of the United States or on request of an attorney for
 5               the Government, the person in charge of the corrections facility in which
 6               the defendant is confined shall deliver the defendant to a United States
 7               Marshal for the purpose of an appearance in connection with a court
 8               proceeding; and
 9         (4)   The clerk shall direct copies of this order to counsel for the United
10               States, to counsel for the defendant, to the United States Marshal, and to
11               the United States Pretrial Services Officer.
12         DATED this 16th day of April, 2007.



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15                                                  MONICA J. BENTON
16                                                  United States Magistrate Judge

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     DETENTION ORDER
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